       Case 15-41732   Doc 186   Filed 12/28/17   Entered 12/28/17 11:31:19   Desc Main Document   Page 1 of 6




                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  IN RE:
                                                              Case No. 15-41732
  INTERPHASE CORPORATION                                      Chapter 7

                                     Debtor

         TRUSTEE’S MOTION TO (i) AMEND EMPLOYMENT TERMS OF
       GARDEN CITY GROUP, LLC, AND (ii) AUTHORIZE PAYMENT OF FEE

YOUR RIGHTS MAY BE AFFECTED BY THE RELIEF SOUGHT IN THIS PLEADING. YOU SHOULD READ THIS PLEADING
CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. IF YOU OPPOSE
THE RELIEF SOUGHT BY THIS PLEADING, YOU MUST FILE A WRITTEN OBJECTION, EXPLAINING THE FACTUAL
AND/OR LEGAL BASIS FOR OPPOSING THE RELIEF.

NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A WRITTEN OBJECTION IS FILED WITH THE CLERK OF
THE UNITED STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS PLEADING WITHIN
TWENTY-ONE (21) DAYS FROM THE DATE OF SERVICE SHOWN IN THE CERTIFICATE OF SERVICE UNLESS
THE COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO OBJECTION IS TIMELY SERVED
AND FILED, THIS PLEADING SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER
GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
THEREAFTER SET A HEARING WITH APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR AT THE HEARING, YOUR
OBJECTION MAY BE STRICKEN. THE COURT RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.


       Mark A. Weisbart, Chapter 7 Trustee (“Trustee”) in the above-referenced bankruptcy case,

files this Motion to (i) Amend Employment Terms of Garden City Group, LLC, and (ii) to

Authorize Payment of Fee. pursuant to Sections 328 and 330 of the Bankruptcy Code, seeking to

revise the employment terms of Garden City Group, LLC, the estate’s distribution agent, and

authority to pay the approved fee. In support of this relief, Trustee would respectfully show the

Court as follows:

                                                  I. JURISDICTION

       1.      This Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334. This

matter involves a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (B). Venue is proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The relief requested in this motion is

authorized pursuant to 11 U.S.C. §§ 327 and 328(a) and FED.R.BANKR.P. 2014.


Motion to Amend Employment Terms of Garden City Group, LLC                                                       Page 1
        Case 15-41732   Doc 186   Filed 12/28/17   Entered 12/28/17 11:31:19   Desc Main Document   Page 2 of 6




                            II. PROCEDURAL AND FACTUAL BACKGROUND

        2.      On September 30, 2015 (the “Petition Date”), Interphase Corporation (the “Debtor”

or “Interphase”) filed a voluntary petition under Chapter 7 of Title 11 of the United States Code

(the “Bankruptcy Code”) commencing the above-referenced bankruptcy case.

        3.      Mark A. Weisbart was thereafter appointed the interim Chapter 7 Trustee, and has

continued in the capacity as trustee since the meeting of creditors.

        4.      In light of the estate’s assets and the aggregate amount of claims filed by creditors,

the Trustee determined there was a reasonable possibility a surplus could arise resulting in a

distribution to the Debtor’s shareholders.

        5.      At the time it ceased operations and filed this case, Interphase was a publicly traded

company whose common stock traded on the NASDAQ Stock Market under ticker symbol

NASDAQ: INPH. Upon information and belief, on or about October 12, 2015 (the “Delisting

Date”), Interphase’s common stock was delisted from NASDAQ due to the commencement of this

case. Upon further information and belief, there are 8,393,981 outstanding common shares (the

“Common Shares”).

        6.      The Debtor’s transfer agent until shortly after the commencement of this case was

Computershare Investor Services (“Computershare”). Since the Petition Date, however, the

Common Shares have continued to trade on the over-the-counter market, the pink sheets, under

ticker symbol INPHQ:PK (the “OTC Trading”). 1

        7.      Given the possibility that this case could result in a surplus estate, on March 31,

2017, Trustee filed his application (the “Employment Application”) to retain Garden City Group,




        1
         Financial websites have indicated that the Common Shares have average volume of trading of
16,482. Due to the OTC Trading, the beneficial owners of the shares traded are not readily ascertainable.


Motion to Amend Employment Terms of Garden City Group, LLC                                                        Page 2
        Case 15-41732   Doc 186   Filed 12/28/17   Entered 12/28/17 11:31:19   Desc Main Document   Page 3 of 6




LLC (“GCG”) as the estate’s distribution agent for the distribution of any surplus to holders of

common shares.

        8.      As set forth in the Employment Application, it was estimated that the total fees and

expenses for GCG services would be under $10,000.00. Trustee requested authorization to pay

Garden City up to this amount without further order of the Court upon completion of its services.

If the total fees and expenses exceed this amount, Trustee proposed to submit a fee application

pursuant to 11 U.S.C. §§ 328 and 330.

        9.      Since approval of the Employment Application it has become apparent that this

arrangement is unworkable. GCG’s services involve the distribution of the surplus funds to holders

of the Debtor’s Common Shares. 2 Before GCG provides these services, however, the Trustee must

first submit and obtain approval of his Trustee Final Report (the “TFR”). But before the Trustee

submits his final report, all professional fee applications must be filed and ruled upon. Yet, it’s

impossible to determine before GCG’s services are rendered what the precise amount of fees and

expenses attributable to those service will be for purposes of submitting any such fee application.

        10.     Although GCG previously provided an estimate of $10,000, it has since confirmed

(i) the number of outstanding Common Shares for distribution purposes, and (ii) that there exists

forty (40) individual registered holders (the “Holders”) of the shares (the “Holder Shares”) with

all other shares held in street name through DTCC (The Depository Trust and Clearing

Corporation) (the “DTCC Shares”). GCG, however, cannot ascertain the number of beneficial

owners of the DTCC Shares.


        2
          The Trustee has concurrently filed his Motion to Approve Equity Distribution and Estate Closing
Procedures (the “Distribution Motion”) seeking approval of certain procedures with regard to the filing of
the Trustee’s final report, distribution of estate funds to equity holders of Interphase Corporation and
closure of the case. Specifically, the Trustee requests authority to identify CGG as the recipient of the
surplus responsible for making distribution of the surplus by payment (i) directly to individual registered
holders of the Debtor’s common shares, and (ii) DTCC who is holds the remaining common shares in street
name for the beneficial owners.

Motion to Amend Employment Terms of Garden City Group, LLC                                                        Page 3
       Case 15-41732   Doc 186   Filed 12/28/17   Entered 12/28/17 11:31:19   Desc Main Document   Page 4 of 6




       11.     A significant portion of GCG’s estimated fee is attributable to calls and inquiries

from recipients of the surplus GCG reasonably anticipates receiving and having to field. There is

simply no way to determine the number of inquiries GCG will receive from the beneficial holders

of the outstanding 8.4 million Common Shares.

       12.     To resolve this dilemma, GCG has agreed to accept as full compensation for its

services and reimbursement of expenses the sum of $15,000.00 (the “Flat Fee”).

       13.     Trustee believes this is in the best interest of the estate and all interested parties.

Approval of the Flat Fee will enable the Trustee to finalize his TFR for approval, and will expedite

the distribution of the estate to creditors and shareholders and the closure of the case.

                                          III. RELIEF REQUESTED

       14.     Trustee requests, pursuant to Sections 328 and 330 of the Bankruptcy Code,

approval of the foregoing modification to GCG’s employment terms and authority to pay GCG the

Flat Fee in full satisfaction for its prospective services and expenses.

       15.     Section 328(a) provides that a trustee, with the court’s approval, may employ a

professional person under section 327 on any reasonable terms and conditions of employment,

including, without limitation, on a percentage fee basis or a contingent fee basis. While the terms

of such employment were previously approved by the Court, the Trustee believes that such terms

and conditions are improvident in light of developments not capable of being at such time.

                                                   IV. SERVICE

       16.     Service of this Motion has been made in accordance with the Court’s Order

Granting Application to Limit Notice of Pleadings Pursuant to Fed.R.Bank.P 2002(h) and 9007.

Trustee requests the Court find that such notice is appropriate and sufficient.

                                                    V. PRAYER

       WHEREFORE, the Trustee respectfully requests that the Court enter an Order (i)

Motion to Amend Employment Terms of Garden City Group, LLC                                                       Page 4
        Case 15-41732   Doc 186   Filed 12/28/17   Entered 12/28/17 11:31:19   Desc Main Document   Page 5 of 6




approving the modification in the terms of Garden City Group, LLC’s engagement, (ii) authorizing

his payment of $15,000 for its services, and (iii) granting him Trustee such other and further relief

to which he is justly entitled.

                                                       Respectfully Submitted,

                                                       /s/ Mark A. Weisbart
                                                       Mark A. Weisbart
                                                       Texas Bar No. 21102650
                                                       THE LAW OFFICE OF MARK A. WEISBART
                                                       12770 Coit Road, Suite 541
                                                       Dallas, Texas 75251
                                                       (972) 628-4903 Phone
                                                       mark@weisbartlaw.net

                                                       COUNSEL FOR CHAPTER 7 TRUSTEE




                                      CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing instrument was served on the
parties on the attached mailing list in accordance with LBR 9013(f) either through the Court’s
electronic notification system as permitted by Appendix 5005 III. E. to the Local Rules of the U.S.
Bankruptcy Court for the Eastern District of Texas, or by first class United States Mail, postage
prepaid on this the 28th day of December 2017.
                                                     /s/ Mark A. Weisbart
                                                     Mark A. Weisbart




Motion to Amend Employment Terms of Garden City Group, LLC                                                        Page 5
                          Case 15-41732   Doc 186   Filed 12/28/17
Label Matrix for local noticing                       Evan R. BakerEntered 12/28/17 11:31:19   Desc Main Document
                                                                                                            Shawn M. Page 6 of 6
                                                                                                                     Christianson
0540-4                                                1601 Elm Street                                       Buchalter, A Professional Corporation
Case 15-41732                                         Suite 3000                                            55 Second St., 17th Fl.
Eastern District of Texas                             Dallas, TX 75201-4757                                 San Francisco, CA 94105-3491
Sherman
Thu Dec 28 11:27:48 CST 2017
(p)MICHAEL REED OR LEE GORDON                         Interphase Corporation                                John J. Kane
PO BOX 1269                                           4240 International Pkwy                               Kane Russell Coleman & Logan PC
ROUND ROCK TX 78680-1269                              Suite 105                                             1601 Elm St. Suite 3700
                                                      Carrollton, TX 75007-1985                             Dallas, TX 75201-7207


Holland Neff O’Neil                                   Leo Oppenheimer                                       Caroline Penninck
Gardere Wynne Sewell LLP                              Reid Collins & Tsai LLP                               1445 Ross Avenue, Suite 3700
2021 McKinney Avenue                                  1601 Elm St., Ste. 4250                               Dallas, TX 75202-2755
Suite 1600                                            Dallas, TX 75201-7282
Dallas, TX 75201-4761

George C. Scherer                                     Laurie A. Spindler                                    US Trustee
Law Office of Robert Luna, PC                         Linebarger, Goggan, Blair & Sampson                   Office of the U.S. Trustee
4411 N. Central Expy.                                 2777 N. Stemmons Frwy Ste 1000                        110 N. College Ave.
Dallas, TX 75205-4210                                 Dallas, TX 75207-2328                                 Suite 300
                                                                                                            Tyler, TX 75702-7231

Mark A. Weisbart
The Law Office of Mark A. Weisbart
12770 Coit Road, Suite 541
Dallas, TX 75251-1366




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Lee Gordon
McCreary Veselka Bragg & Allen, PC
PO Box 1269
Round Rock, TX 78665




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Mark A. Weisbart                                   (d)Mark A. Weisbart                                   End of Label Matrix
The Law Office of Mark A. Weisbart                    The Law Office of Mark A. Weisbart                    Mailable recipients   12
12770 Coit Road, Suite 541                            12770 Coit Road, Suite 541                            Bypassed recipients    2
Dallas, TX 75251-1366                                 Dallas, TX 75251-1366                                 Total                 14
